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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENWOOD DIVISION

LINDA EARWOOD,                                      )
                                                    )      Case No. 8:11-cv-03237
       Plaintiff,                                   )
                                                    )
       vs.                                          )
                                                    )      NOTICE OF DISMISSAL
ENHANCED RECOVERY COMPANY                           )
LLC,                                                )
                                                    )
       Defendant.                                   )


       Now comes the Plaintiff, LINDA EARWOOD, by and through her attorneys, and hereby

advises the Court that she is dismissing the above-captioned matter with prejudice, pursuant to a

settlement agreement reached between the parties



                                                    Respectfully submitted,

                                                    /s/ James M. Ervin
                                                    James M. Ervin
                                                    Federal Bar ID No. 9537
                                                    Attorney for Plaintiff
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 17, 2012, a copy of the foregoing Notice of Dismissal was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system

to all parties indicated on the electronic filing receipt. Parties may access this filing through the

Court’s system.



                                                       /s/ James M. Ervin
                                                       James M. Ervin
                                                       Federal Bar ID No. 9537
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